                                                                                  9
                          IN THE UNITED STATES COURT
                                                                      JUN 25 2024
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                                                  US DISTRICT COURT
                              NASHVILLE DIVISION                    MID DIST TENN




                                                        No. 3:23-cv-00851

                                                        JUDGE CAMPBELL

                                                        MAGISTRATE JUDGE
                                                        NEWBERN




 OBJECTIONS TO THE MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION




Case 3:23-cv-00851     Document 50   Filed 06/25/24   Page 1 of 5 PageID #: 335
    Plaintiff, RANDEL EDWARD PAGE JR, on this 21st day of June 2024, respectfully objects to
    the report and recommendations presented to the Honorable Court. Plaintiff's objections are made
    in good faith.


                                                 FACTS

    1. An ORDER TO SHOW CAUSE was filed on June 11`h, 2024.

       Exhibit A

       The ("ORDER") gave the Plaintiff till June 24, 2024, to show why the Court
       should extend the time for Page to effect service of process on the United States and why the
       Magistrate Judge should not recommend that the Court dismiss Page's claims against the
       United States.


    3. On June 10, 2024, the Plaintiff mailed his ("RESPONSE") via UPS.


        Exhibit B


    4. On June 171, 2024, the Plaintiff received an email from UPS that the ("RESPONSE") was
       delivered and signed for by the United States Marshals Service.


        Exhibit C


    5. Because of the conspiracy against the Plaintiffs civil rights and the racketeering acts
       associated under the guise of legitimate court proceedings and attorney services the Plaintiff
       filed an AFFIDAVIT OF FACTS IN SUPPORT OF THE COMPLAINT in the Shelby
       County Chancery Court. The ("RESPONSE") is attached to the affidavit as Exhibit Y.

        Exhibit D




Case 3:23-cv-00851        Document 50         Filed 06/25/24       Page 2 of 5 PageID #: 336
WHEREFORE, Plaintiff kindly and respectfully asks this Honorable Court to take Plaintiffs objections
into consideration. Plaintiff also asks this Honorable Court to provide relief and an injunction for
compensation.

Dated this 21" day of June 2024.




       Pro Se: Randel Edward Page Jr.                                         Respectfiilly submitted.

                                                                              Randel Edward Page Jr.




Case 3:23-cv-00851          Document 50        Filed 06/25/24      Page 3 of 5 PageID #: 337
I Randel Edward Page Jr. hereby certify that on June 21 st, 2024, a true and correct copy of the foregoing
                              was served via US Mail to the following:



           United States of America

                Melissa Russell                                         State of Tennessee

             US Attorney's Office                                        Heather C. Ross

    110 Ninth Avenue South, Suite A 961                    Office of the Attorney General of Tennessee

         Nashville, Tennessee 37203                                   500 Charlotte Avenue

                                                                       Nashville, TN 37219

             Emily Hamm Huseth

    Harris Shelton Hanover Walsh, PLLC

      6060 Primacy Parkway, Suite 100                                   Buckner Wellford

         Memphis, Tennessee 38119                                      Brigid M. Carpenter

                                                              Baker, Donelson, Bearman, Caldwell

     Counsel for Defendant Epic Systems                                 & Berkowitz, P.C.
                 Corporation
                                                               1600 West End Avenue, Suite 2000
               Joel E. Tragesser
                                                                   Nashville, Tennessee 37203
     135 N. Pennsylvania St., Suite 2400

            Indianapolis, IN 46204



                 John Thomas                                            Chad M. Jackson

              Mackenzie Hobbs                                   Morgan, Akins & Jackson, PLLC

          Barnes & Thornburg LLP                                 10 Burton Hills Blvd., Suite 210

      827 19th Avenue South Suite 930                                 Nashville, TN 37215




Case 3:23-cv-00851          Document 50          Filed 06/25/24       Page 4 of 5 PageID #: 338
             Photo Document Mailer


  FI
   —
                                                                                               mmo

                                                    C    C.i'S
                                       n




                                                    J                                  1NA m
                                                                      ~
                                                    9.                                   (A>
                                                                 --
                                                    9                                    A Z
                                           f        J                                    C)
                                                                                           r
                                                                                         ~m
                                                    ~                                    CT.

                                                                                               mN~




                                                                                               ~ N
                                                                                                     O
                                                                                               a     T

                                                                      -   311
                                                                                                     —




       '

  IJ




                                                                                  C
                                                                                  N

                                                                                           M
                                                                                Cn
                                                                                40 CM
                                                                                M c, o
                                                                                           M
                                                                                z 00

                                                                                                         i



Case 3:23-cv-00851   Document 50   Filed 06/25/24   Page 5 of 5 PageID #: 339
